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              IN THE UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF GEORGIA
                        AUGUSTA DIVISION

 LORETTA BROWMAN, EVELYN
 ARMSTRONG, TIEESE SMITH,
 DEWAYNE WILLIAMS, VICTORIA
 SNOW, RONALD LAMPKIN,
 BARBARA BETTS, SHERRY
 HOLES, FELICIA LAMBERT,
 TERESSA TAYLOR, MICHAEL
 DUNN, ALOPECIA ARMSTRONG,
 PATRICIA BELL, BERNICE
 WILKINS, ANNIE WILLIAMS,
 CAROLYN WASHINGTON,
 SCHUYLER KNIGHT, CLARISSA
 COLEMAN, CHARLES JONES,
 MARK PUGH, SABRINA
 WATKINS, SUSAN DENICE
 KELLY, and ETHEL LENA EVANS,

                   Plaintiffs,

                   v.                    Case No.   CV 121-112
                                                    CV 121-112
 KENDALL PATIENT RECOVERY
                                        PLAINTIFFS DEMAND        TRIAL BY
 U.S., LLC, a Delaware limited
                                        JURY
 Liability corporation,

                   Defendant.




            COMPLAINT        AND   DEMAND     FOR JURY TRIAL

     Plaintiffs Loretta Browman,   Evelyn Armstrong, Tieese Smith,

Dewayne Williams, Victoria Snow, Ronald Lampkin, Barbara Betts, Sherry
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Holes, Felicia Lambert, Teressa Taylor, Michael Dunn, Alopecia Armstrong,

Patricia Bell, Bernice Wilkins, Annie Williams, Carolyn Washington,

Schuyler Knight, Clarissa Coleman, Charles Jones, Mark Pugh, Sabrina

Watkins, Susan Denice Kelly, and Ethel Lena Evans bring this Complaint

and Demand for Jury Trial against Defendant Kendall Patient Recovery,

U.S., LLC       (“KPR”) for the harm it caused to Plaintiffs as a result of its

emissions of toxic ethylene oxide. Plaintiffs allege as follows upon personal

knowledge as to themselves and their own acts and experiences, and, upon

information and belief as to all other matters.

                                             INTRODUCTION

          1.         KPR operates an industrial medical sterilization plant in Augusta,

Georgia.       As     part   of its sterilization          process,    KPR     uses    and    emits     harmful

ethylene oxide (“EtO”).

          2         While       ethylene    oxide    has     been     recognized      as   a hazardous        air

pollutant      since      1991,    classified    as a human           carcinogen      since     1994,   and   its

carcinogenic and mutagenic properties have been well documented in studies

since,     at least,      the     mid-1980s,        KPR     disregarded       ethylene       oxide’s    harmful

properties          and   continues        to release      it into    the    surrounding        community—

entirely unbeknownst (until recently) to area residents and workers.
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          3.        Self-reported emission            estimates       from    the KPR     facility indicate

high levels of ethylene oxide release. KPR                          has released as much as 110,000

pounds         of ethylene      oxide in a single year. While                a portion of KPR’s           EtO is

emitted through controlled and monitored points, the largest amount of these

emission         estimates       are     uncontrolled       “fugitive    emissions”       that     have    been

escaping, and continue to escape, the KPR facility.

         4.        Early air modeling around the KPR facility shows ethylene oxide

levels in excess of the U.S. Environmental Protection Agency’s                                   (“U.S. EPA”)

acceptable         cancer       risk     and   in    excess    of    Georgia’s     Acceptable        Ambient

Concentration (“AAC”) levels for EtO.

         5.        As     a result,     and    unbeknownst          to them,     individuals       living and

working near the KPR facility face some of the highest long-term cancer risks

in the         United     States.      These   individuals      have    been     unknowingly         inhaling

ethylene oxide on a routine and continuous basis for decades.                               Now      they are

suffering from a variety of cancers, miscarriages, birth defects, and other life-

altering health effects from their continuous exposure to ethylene oxide.

                                                    PARTIES

         6.        Plaintiffs       Loretta    Browman,        Evelyn        Armstrong,    Tieese      Smith,

Dewayne          Williams,      Teressa Taylor, Ronald Lampkin,                  Barbara Betts, Sherry

Holmes,         Michael     Dunn,      Alopecia Armstrong,           Patricia Bell, Bernice          Wilkins,

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Annie Williams, Carolyn Washington, Clarissa Coleman, Charles Jones, Mark

Pugh,        Sabrina    Watkins,    Susan    Denice    Kelly,     and      Ethel    Lena         Evans     are

natural persons and citizens of the State of Georgia.

        7.       Plaintiffs Victoria Snow and Schuyler Knight are natural persons

and citizens of the State of South Carolina.

        8.       Defendant       Kendall    Patient    Recovery         U.S.,      LLC     is     a    limited

liability company organized and existing under the laws of Delaware with its

principal place of business located at 7000 Cardinal Place, Dublin, Ohio 43017.

Defendant KPR operates a medical sterilization facility located at 1430 Marvin

Griffin Road, Augusta, Georgia 30913.


                              JURISDICTION AND VENUE

        8        This    Court     has   subject   matter       jurisdiction        over        this    action

pursuant to 28 U.S.C. § 1332(a) because (i) the parties are citizens of different

states, (ii) and the amount in controversy exceeds $75,000.

        10.      This Court has personal jurisdiction over Defendant because it is

registered      to do business      in this District    and      carries    on     a continuous           and

systematic part of its business throughout this District.
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       11.         Venue   is proper     because       Defendant      operates    a facility        in this

District     and     a substantial     part   of the     events      or omissions    giving         rise   to

Plaintiffs’ claims occurred in this District.

                           COMMON        FACTUAL          ALLEGATIONS

I.     Brief Overview of the Ethylene Oxide Industry

       12.         Ethylene   oxide    is a flammable       gas at room      temperature            that is

produced in large volumes for industrial uses.

       13.         Commercial medical equipment sterilizers use the ethylene oxide

sterilization process on over 20 billion health care products every year in the

United States. The EtO sterilization process begins by placing medical

equipment in a gas chamber. After air is pumped out of the room, ethylene

oxide is introduced and allowed to diffuse into the products for several hours.

Once the medical equipment is sterilized, the ethylene oxide is pumped out of

the chamber and the remaining EtO is allowed to slowly dissipate from the

equipment. While EtO’s gaseous form is has industrial uses, like medical

device sterilization, the average person does not use EtO for such uses.

      14.      Since at least 1968, Defendant KPR has used and continues to use

EtO in its industrial medical device sterilization process.

      15.      Throughout        the    industrial      processes,     EtO   is   emitted      in     both

“controlled” emissions        through     known        points of exit from the facilities (i.e.,

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smokestacks          or vents),       as well as through “fugitive” emissions:                           unregulated

escapes of EtO through leaky seals, old or malfunctioning equipment, operator

error, or other untracked sources.

         16.    As such, local residents and workers in the area have unknowingly

been exposed to carcinogenic ethylene oxide for decades, all while KPR knew,

or should have known, that EtO is dangerous, toxic, carcinogenic, mutagenic,

and the cause of various illnesses.

II.      Health Effects of Ethylene Oxide Exposure

         17.    Ethylene oxide is an odorless, colorless gas that is dangerous, toxic,

carcinogenic,        and mutagenic. EtO is highly reactive, readily taken up by the

lungs,     efficiently        absorbed        into     the    blood      stream,        and     easily       distributed

throughout       the     human          body.    Its    deleterious           properties        have     been        widely

known for decades.

         18.    Ina 1977 article, the National Institute of Occupational Safety and

Health (“NIOSH”) concluded that occupational exposure to ethylene oxide may

increase the frequency of genetic mutations in humans. The NIOSH report also

raised concerns about the potential carcinogenicity of ethylene oxide.

         19.    In     1981,      the      NIOSH             released         a     subsequent         report        which

recommended            that     EtO      be     regarded         in     the         workplace     as     a    potential

occupational         carcinogen.         The     NIOSH           based        its    recommendation             on     new

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evidence      of      EtO’s     carcinogenic,          mutagenic,           and    reproductive           hazards,

including     studies         demonstrating          that    EtO    induced       cancer   in experimental

animals. Specifically, the studies showed an increase in instances of leukemia

in line with increases of EtO concentrations, in addition to other adverse effects

on reproductive health. An epidemiological investigation of Swedish workers

exposed to EtO             also revealed an increased incidence of leukemia                          and other

cancers.

       20.         The 1981 NIOSH report was widely disseminated in the form of a

bulletin     available         to     users    and      emitters       of     ethylene      oxide      and        the

petrochemical         industry        at large.   Indeed,          NIOSH     requested      that producers,

distributors,        and    users     of EtO    further      disseminate          the bulletin      and     inform

others of the chemical’s dangers: “[o]n the basis of this information,                                     NIOSH

requests     that     producers,        distributors,        and    users     of ethylene     oxide,        and    of

substances and materials containing ethylene oxide, give this information to

their workers and customers, and that professional and trade associations and

unions inform their members.”

      21.       In    1985,     the    U.S.    Department           of Health       and    Human          Services

published     the Fourth Annual                Report       on Carcinogens          and classified EtO            as

reasonably anticipated to be a human carcinogen.
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        22.         In the early       1990s,     the NIOSH          published            the largest and           most

informative epidemiological study of ethylene oxide. The study analyzed over

18,000 employees working with EtO at fourteen different industrial facilities

sterilizing     medical        equipment        and     food     spices.    The      study      found     sufficient

evidence      to support        a causal link between                exposure         to ethylene        oxide      and

increased      mortality        from     lymphatic        and      hematopoietic            cancers.     Follow-up

studies have additionally demonstrated an association between EtO exposure

and breast cancer.

       23.      As     a result        of these     findings,       the    World          Health      Organization

(“WHO”)       listed EtO        as a Group         1 human         carcinogen            in 1994,     the agency's

highest risk classification, finding ethylene oxide to be carcinogenic to humans.

In 2000,      the    U.S.     Department          of Health        and     Human           Services     revised      its

classification for EtO to “known to be a human carcinogen.” In 2016, the EPA’s

Integrated      Risk        Information         System         reclassified        EtO     as   carcinogenic          to

humans        and     increased        the   cancer      potency         of EtO      by     thirty     (30)    times.

Critically,    these        classifications       are    not     limited      to    the    workplace:         EtO     is

carcinogenic and harmful to those who ingest it even if they don’t work with it

on a regular basis. The draft December 2020 Toxicological Profile for Ethylene

Oxide submitted for public comment by the Agency for Toxic Substances and

Disease Registry, for example, recognizes that those living near facilities that

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use EtO may face elevated concentrations because of emissions or accidental

releases. Indeed, as described below, it is precisely because EtO is carcinogenic

regardless of circumstance that it is recognized as a toxic air pollutant whose

emissions        must    be   tracked     and   its     release     into    the     atmosphere       (and

consequential exposure to nearby properties) limited.

           24.    Exposure    to   ethylene     oxide    has      been     widely    studied   and     its

negative health effects well documented.                 Presently, there is evidence linking

ethylene oxide exposure to an increased risk of lymphohematopoietic cancers,

such as non-Hodgkin's lymphoma, myeloma, and lymphocytic leukemia; breast

cancer; tumors in the lungs, the uterus, and the brain; and reproductive and

developmental impairments,              including an increased rate of miscarriages and

infertility.

       25.        Most recently, the Illinois Department of Public Health (“IDPH”)

conducted        an   assessment   of cancer     rates     in the    population       surrounding       a

different sterilization facility in Willowbrook,               Illinois, Sterigenics, which has

been using and emitting EtO in its industrial sterilization process since 1984.

The findings reaffirm the decades of studies on EtO exposure. The IDPH found

elevated cases of:

       .         Hodgkin's lymphoma;

                 Pediatric lymphoma;
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          =      Breast cancer;

          n      Prostate cancer;

         Ll      Pancreatic cancer;

         Ll      Ovarian cancer; and

         Ll]     Bladder cancer.

         26.     Worst of all, ethylene oxide exposure affects the most vulnerable

members        of the population.     The   U.S.        EPA   states that “for a single year of

exposure       to ethylene   oxide,   the cancer         risk is greater for children than for

adults. That is because ethylene oxide can damage DNA.”

III.     KPR Knew That EtO Emissions Were Harmful

         27.     By the early 1980s, ethylene oxide’s negative health effects were

widely disseminated to industrial users and emitters of the chemical. This

means that, during the time KPR operated its facility it knew or should have

known that ethylene oxide is and was always dangerous to human health and

that its emissions posed (and continue to pose) a serious risk to area

residents.

        28.     In October 1985 the U.S. EPA issued a Notice of Intent to list EtO

as a hazardous air pollutant. The Notice expressed concern over the “adverse

health effects associated with ethylene oxide exposure” and cited the various

studies on EtO’s cacogenic health effects. In this Notice, the U.S. EPA                    also

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stated that it performed a dispersion model to estimate the concentration levels

which the public may be exposed near EtO emission sources and conducted a

preliminary          risk assessment.                The    U.S.     EPA’s     preliminary        risk assessment

found that there was a risk of an additional forty-seven (47) cases of cancer per

year in areas surrounding EtO sterilizers and fumigators and concluded that

“ethylene      oxide        can    exist in the            ambient      air for at least         several    hours,            a

sufficient length of time for a significant human exposure to occur.”

        29.      In July 1986, when considering adding “ethylene oxide (EO) to the

list of hazardous air pollutants” the U.S. EPA issued a letter to ethylene oxide

users     requesting          “information            about        E[t]O      sterilization      processes,           E[t]O

emission levels from sterilizers, and emission controls on E[t]O sterilizers at

each of your facilities that uses                      E[t]O       for sterilization or fumigation.”                   This

request       came     in     light      of    the    NIOSH          study      showing       evidence      of        EtO’s

carcinogenic, mutagenic, and reproductive hazards and the U.S. EPA’s concern

with “significant           quantities          of EO       [being emitted]         to the atmosphere”                 and,

consequently,         affecting individuals                 living and        working     near     ethylene           oxide

facilities. The U.S. EPA                 sent the July 1986 letter to various EtO                          users and

emitters,     including           KPR.        Ultimately,          ethylene     oxide   was      included        on     the

original list of hazardous air pollutants identified in the 1990 Amendment to

the Clean Air Act.

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          30.       In 1986 the U.S. EPA             conducted       a risk assessment              for ethylene

oxide         emitters,    including      KPR’s      Augusta        facility.     The      agency     calculated

maximum            EtO    concentrations        from the KPR          facility to be as high as 11.68

pg/m3—or 584 times the current acceptable limit. The U.S. EPA also assigned

a numeric risk score for individuals living and working in the area surrounding

the KPR facility resulting from EtO emissions.

         31.       By 1990 then, ethylene oxide users and emitters were aware of the

dangers of the chemical and legal consequences of emissions. Indeed, in 1990

California Attorney            General      Van    de Kamp          brought       a lawsuit        against     four

emitters        of ethylene       oxide   alleging    that the        EtO       emitters    had     exposed     an

estimated 3 million people living near emissions sites to the potent carcinogen.

         32.       Thus,    the     potential     dangers      EtO       emissions         posed     to     nearby

residents was known, or should have been known, to KPR when it operated its

facility, and years in advance of Plaintiffs’ diagnoses.

IV.      KPR Emits Harmful Levels of Ethylene Oxide

         a.        The U.S. EPA           Estimates         High    Risks of Cancer Near                    KPR’s
                   Facility

         33.       On August 22, 2018, the U.S. EPA released the 2014 National Air

Toxics    Assessment          (“NATA”)—a          screening        tool that estimated             cancer    risks

based on emission data in 76,727 census tracts across the United States.


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         34.     The      2014   NATA      identified the       tract where     the KPR       facility is

located in Augusta (13245010400) as having potential cancer risks of sixty-four

 (64) per one million from exposure to air toxics.

         35.     The      U.S.   EPA     “considers     any     exposure,     however     small,    to a

carcinogen to create some               cancer risk.” The U.S. EPA estimates the lifetime

risk of developing cancer due to air toxics in the tract in which the KPR facility

is located to be up to twice as high as the average national cancer risk across

the U.S. population.

        b.       The U.S. EPA’s Cancer Risks are Understated

        36.      While     the   2014     NATA   reveals       shockingly     high   risks    of cancer

surrounding the KPR facility, these risks are understated.

        37.      The U.S. EPA warns that the NATA is only a screening tool that

local municipalities can use in order to further investigate emission sources

and potential public health risks. It notes several NATA shortcomings, such

as the lack of direct measurements of pollutants and data gaps.

        38.      The 2014 NATA is a model created on the assumed exposure of a

facility’s     reported      2014   emissions.        But     the   emissions    from        KPR   have

historically been greater than its reported emissions in 2014.

        39.      The U.S. EPA maintains a Toxics Release Inventory (“TRI”)

which includes annual self-reported emissions data from industrial facilities
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using EtO and other toxic chemicals that pose a threat to human health and

the environment.

         40.   A review of TRI data from the U.S. EPA shows EtO emissions

from the KPR facility in Augusta over the course of thirty (30) years, with

data beginning approximately twenty (20) years after the facility’s opening.

See Figures 1 and 2.




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                          Fugitive Emissions             Stack Emissions
                                 (in lbs)                     (in lbs




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(Figure 2)

         41.     In 2014, KPR       emitted approximately          322 pounds of carcinogenic

ethylene       oxide   from   its   facility.   These   reported    emissions,    however,   are

overshadowed by KPR’s emissions in previous years, but were not accounted

for in the 2014 NATA           Report.    For example,     KPR     emitted more    than 41,000

pounds     of EtO in 1995;      104,000 pounds in 1990; and over 110,000 pounds in

1989.
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      42.     A significant portion of KPR’s emissions include fugitive emissions

from sources such as leaking valves and other equipment. These emissions are

only based on an estimate due to their elusive nature.

      43.     As a result of KPR’s emissions of carcinogenic ethylene oxide into

the air and the surrounding     communities,   people living and working in the

surrounding     communities    have   been   unknowingly   exposed   to   elevated

concentrations of EtO.

            c. The Georgia Environmental Protection Division’s Air
               Modeling


      44.     According to the Georgia Environmental Protection Division's

(“GA EPD”) air modeling, the KPR facility exceeds Georgia’s annual

Acceptable Ambient Concentration for ethylene oxide.

      45.     The AAC is the maximum allowable air concentration of toxic air

pollutants like ethylene oxide. The GA EPD calculated the annual AAC for

ethylene oxide at 0.00033 pg/m?3 based on the U.S. EPA’s Integrated Risk

Information System (“IRIS”) and the Inhalation Unit Risk (“UR”) for EtO.

     46.      The GA EPD’s modeling revealed a maximum       ground level

concentration (“MGLC”)—the concentration of a pollutant to which a human

is normally exposed—in excess of the AAC. Specifically, the GA EPD found




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that the highest annual concentration of ethylene oxide around the facility

was 0.0618 pg/m3, which is over 187 times the AAC.

      47.    The full extent of KPR’s EtO emissions throughout Augusta,

Georgia will not be entirely known to those living and working in the area

until after government agencies conduct and publish long-term air

monitoring results that take into account changing wind patterns and

measurements reflecting KPR’s operation at full capacity.


              FACTS SPECIFIC TO PLAINTIFF BROWMAN

      48.    Plaintiff Loretta Browman has lived in Augusta for the majority

of her life. Between   1966 and 1980, Loretta lived 3.1 miles from the KPR

facility. Between approximately 1981 and 1985, Loretta lived 3.2 miles from

the KPR facility. Between 1986 and 1999, Loretta lived in and around

Augusta and near the KPR facility. Between approximately 2000 and 2003,

Loretta lived 5.9 miles from the KPR facility. Between approximately 2004

and 2008, Loretta lived 4 miles from the KPR facility.

      49.   Loretta consistently and without any knowledge that she was

doing so, inhaled contaminated air in and around her home, her work, and in

the areas surrounding the KPR facility.

      50.   As a result, Loretta was diagnosed with breast cancer in 2011.
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          51.   At the time of her diagnosis, Loretta did not have notice that her

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


                FACTS SPECIFIC TO PLAINTIFF ARMSTRONG

         52.    Plaintiff Evelyn Armstrong has been a resident of Richmond

County, Georgia since 1969. Since 1989, Evelyn has lived 5.5 miles from the

facility. Evelyn worked near the facility from 1969 to 1997.

         53.    Evelyn consistently and without any knowledge that she was

doing so, inhaled contaminated air in and around her home, her work, and in

the areas surrounding the KPR facility.

         54.    As a result, Evelyn was diagnosed with breast cancer around

18990,

         55.    At the time of her diagnosis, Evelyn did not have notice that her

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


                   FACTS    SPECIFIC     TO PLAINTIFF      SMITH

         56.    Plaintiff Tieese Smith has lived in Augusta her whole life and has

continuously lived less than 5 miles from the KPR facility.
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      57.   Tieese consistently and without any knowledge that she was

doing so, inhaled contaminated air in and around her home and in the areas

surrounding the KPR facility.

      58.   As a result, Tieese was diagnosed with Lymphoma      in 2001.

      59.   At the time of her diagnosis, Tieese did not have notice that her

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


              FACTS SPECIFIC TO PLAINTIFF WILLIAMS

      60.   Plaintiff Dewayne Williams has lived in Augusta since 2000.

Between 2000 and 2007, Dewayne     lived 3.4 miles from the KPR facility.

      61.   Dewayne consistently and without any knowledge that he was

doing so, inhaled contaminated air in and around his home and in the areas

surrounding the KPR facility.

      62.   As a result, Dewayne was diagnosed with Acute Promyelocytic

Leukemia (APL) in 2016.

      63.   At the time of his diagnosis, Dewayne did not have notice that his

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.
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                      FACTS SPECIFIC TO PLAINTIFF SNOW

            64.   Plaintiff Victoria Snow lived 4.21 miles away from the KPR

facility from 2002 to 2007. She worked less than 6 miles away from the KPR

facility from 1998 to 2009, and again in 2014.

            65.   Victoria consistently and without any knowledge that she was

doing so, inhaled contaminated air in and around her home, her work, and in

the areas surrounding the KPR facility.

        66.       As a result, Victoria was diagnosed with breast cancer in 2018

and underwent chemotherapy, a mastectomy, and a hysterectomy.

        67.       At the time of her diagnosis, Victoria did not have notice that her

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


                    FACTS   SPECIFIC     TO PLAINTIFF LAMPKIN

        68.       Plaintiff Ronald Lampkin has lived and worked in Augusta,

Georgia his entire life. Since 1978, Ronald has lived 2.1 miles from the KPR

facility. Between      1976 and 2013, Ronald worked 5.2 miles from the KPR

facility.




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       69.      Ronald consistently and without any knowledge that he was

doing so, inhaled contaminated air in and around his home, his work, and in

the areas surrounding the KPR facility.

       70.      As a result, Ronald was diagnosed with prostate cancer in 2008

and lymphoma in 2019.

       71.      At the time of his diagnosis, Ronald did not have notice that his

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


                   FACTS SPECIFIC TO PLAINTIFF BETTS

      72.       Plaintiff Barbara Betts was a resident of Augusta, Georgia for 14

years. Between 1996 and 2010, Barbara lived 1.5 miles from the KPR facility.

Between approximately 1998 and 2000, Barbara worked 2.5 miles from the

KPR facility.

      73.       Barbara consistently and without any knowledge that she was

doing so, inhaled contaminated air in and around her home, her work, and in

the areas surrounding the facility.

      74.    As a result, Barbara was diagnosed with breast cancer in 2000,

which led to a mastectomy, two rounds of chemotherapy, and thirty-six (36)

rounds of radiation.



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            75.   At the time of her diagnosis, Barbara did not have notice that her

 medical condition was wrongfully caused or that it was caused by the

 Defendant’s emissions of ethylene oxide.

                        FACTS SPECIFIC TO PLAINTIFF HOLMES

            76.   Plaintiff Sherry Holmes has been a resident of Augusta, Georgia

since 1967 and has continuously lived less than 3 miles from the KPR facility.

            77.   Sherry consistently and without any knowledge that she was

doing so, inhaled contaminated air in and around her home, her work, and in

the areas surrounding the facility.

            78.   As a result, Sherry was diagnosed with breast cancer in 1998 and

required a hysterectomy in 2005.

         79.      At the time of her diagnosis, Sherry did not have notice that her

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


                    FACTS    SPECIFIC     TO PLAINTIFF TAYLOR

         80.      Plaintiff Teressa Taylor has been a resident of Augusta since

1986.

         81.      Since 1986, Teressa has lived less than a mile from the KPR

facility.



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          82.   Teressa consistently and without any knowledge that she was

doing so, inhaled contaminated air in and around her home and in the areas

surrounding the facility.

          83.   As a result, Teressa had a miscarriage in 2019.

          84.   At the time of her miscarriage, Teressa did not have notice that

her medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


                    FACTS SPECIFIC TO PLAINTIFF DUNN

         85.    Plaintiff Michael Dunn has lived and worked in Augusta, Georgia

his entire life. Between 1977 and 2003, Michael lived less than 3 miles from

the facility. Between 2003 and 2016, Michael lived 2.4 miles from the facility.

Since 2016, Michael has lived 2.9 miles from the KPR facility.

         86.    Michael consistently and without any knowledge that he was

doing so, inhaled contaminated air in and around his home, his work, and in

the areas surrounding the facility.

         87.    As a result, Michael was diagnosed with B-cell lymphoma in

2020.




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        88.   At the time of his diagnosis, Michael did not have notice that his

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


              FACTS SPECIFIC TO PLAINTIFF ARMSTRONG

        89.   Plaintiff Alopecia Armstrong has been a resident of Augusta for

the majority of her life. Between 1990 and 1997, Alopecia worked at the KPR

facility.

        90.   Alopecia consistently and without any knowledge that she was

doing so, inhaled contaminated air in and around her home, her work, and in

the areas surrounding the facility.

        91.   As a result, Alopecia was diagnosed with breast cancer in 2007,

leading to more than four months of chemotherapy and radiation treatment.

       92.    At the time of her diagnosis, Alopecia did not have notice that her

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


                  FACTS SPECIFIC TO PLAINTIFF BELL

       93.    Plaintiff Patricia Bell worked in Augusta, Georgia for 20 years.

Between 1982 and 1990, Patricia worked 5.2 miles from the KPR facility.

Between 1990 and 2012, Patricia worked 5.3 miles from the KPR facility


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       94.   Patricia consistently and without any knowledge that she was

doing so, inhaled contaminated air in and around her work and in the areas

surrounding the facility.

      95.    As a result, Patricia had a miscarriage in approximately 1988.

      96.    At the time of her miscarriage, Patricia did not have notice that

her medical condition was wrongfully caused or that it was caused by the

Defendant's emissions of ethylene oxide.


               FACTS SPECIFIC TO PLAINTIFF WILKINS

      97.    Plaintiff Bernice Wilkins has been a resident of Augusta, Georgia

and has continuously lived and worked around the KPR facility for 45 years.

      98.    Between 1973 to 1996, Berenice lived less than 5 miles from the

KPR facility. Between 1978 and 2019, Bernice worked approximately 5.1

miles from the KPR facility.

      99.    Bernice consistently and without any knowledge that she was

doing so, inhaled contaminated air in and around her home, her work, and in

the areas surrounding the facility.

      100.   As a result, Bernice was diagnosed with breast cancer in 2000

and ovarian cancer in 2019.




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            101.   At the time of her diagnoses, Bernice did not have notice that her

medical conditions were wrongfully caused or that they were caused by the

Defendant’s emissions of ethylene oxide.


                     FACTS   SPECIFIC TO PLAINTIFF WILLIAMS

            102.   Plaintiff Annie Williams has lived in the Augusta area since

1984. Since 1984, Annie has lived 4.7 miles from the KPR facility.

            103.   Annie consistently and without any knowledge that she was

doing so, inhaled contaminated air in and around her home and in the areas

surrounding the facility

        104.       As a result, Annie was diagnosed with colon cancer in 2015.

        105.       At the time of her diagnosis, Annie did not have notice that her

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


                   FACTS   SPECIFIC    TO PLAINTIFF WASHINGTON

        106.       Plaintiff Carolyn Washington has lived 5 miles from the facility

since 1984. Between 1974 and 2010, Carolyn worked 5.2 miles from the

facility.




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       107.   Carolyn consistently and without any knowledge that she was

doing so, inhaled contaminated air in and around her home, her work, and in

the areas surrounding the facility

       108.   As a result, Carolyn had a miscarriage in approximately 1988

and had a hysterectomy in 1994.

      109.    At the time of her diagnosis, Carolyn did not have notice that her

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


                 FACTS SPECIFIC TO PLAINTIFF KNIGHT

      110.    Plaintiff Schuyler Knight worked less than a mile from the KPR

facility between 1984 and 2002.

      111.    Schuyler consistently and without any knowledge that he was

doing so, inhaled contaminated air in and around his work and in the areas

surrounding the facility.

      112.    As a result, Schuyler was diagnosed with chronic lymphocytic

leukemia in 2012.

      113.    At the time of his diagnosis, Schuyler did not have notice that his

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


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                 FACTS SPECIFIC TO PLAINTIFF COLEMAN

       114.     Plaintiff Clarissa Coleman has lived and worked in Augusta,

Georgia her entire life. Since 1999, Clarissa has lived less than a mile from

the KPR facility. Between 1980 and 1985, Clarissa worked 5.2 miles from the

KPR facility.

       115.     Clarissa consistently and without any knowledge that she was

doing so, inhaled contaminated air in and around her home, her work, and in

the areas surrounding the facility.

       116.   As a result, Clarissa was diagnosed with breast cancer in 2010.

      117.    At the time of her diagnosis, Clarissa did not have notice that her

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


                   FACTS SPECIFIC TO PLAINTIFF JONES

      118.    Plaintiff Charles Jones has lived and worked in Augusta, Georgia

since 2015. Between 2015 and until present, Charles lived and worked 4.1

miles from the KPR facility.

      119.    Charles consistently and without any knowledge that he was

doing so, inhaled contaminated air in and around his home, his work, and in

the areas surrounding the facility.



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       120.     As a result, Charles was diagnosed with myeloma in 2020.

       121.     At the time of his diagnosis, Charles did not have notice that his

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


                    FACTS SPECIFIC TO PLAINTIFF PUGH

       122.     Plaintiff Mark Pugh has lived or worked in Augusta, Georgia

from 1967 to 2003. Between       1967 and 1989, Mark lived 3.1 miles from the

KPR facility. Between 1990 and 1992, Mark lived 3.7 miles from the KPR

facility. Between 1993 and 2003, Mark lived 3.1 miles from the KPR facility.

Between November of 1986 and June of 1987, Mark less than a mile from the

KPR facility.

      123.      Mark consistently and without any knowledge that he was doing

so, inhaled contaminated air in and around his home, his work, and in the

areas surrounding the facility.

      124.    As a result, Mark was diagnosed with Glioblastoma Multiforme—

an aggressive type of brain cancer—in 2019.

      125.    At the time of his diagnosis, Mark did not have notice that his

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


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               FACTS SPECIFIC TO PLAINTIFF WATKINS

      126.   Plaintiff Sabrina Watkins has lived and worked in Augusta,

Georgia from 1982 to 2004. Between 1982 and 1998, Sabrina lived 3.1 miles

from the KPR facility. Between 2000 and 2004, Sabrina worked in or around

the KPR facility.

      127.   Sabrina consistently and without any knowledge that she was

doing so, inhaled contaminated air in and around her home, her work, and in

the areas surrounding the facility.

      128.   As a result, Sabrina had five miscarriages between 1999 to 2017.

      129.   At the time of her miscarriages, Sabrina did not have notice that

her medical conditions were wrongfully caused or that they were caused by

the Defendant’s emissions of ethylene oxide.


                FACTS SPECIFIC TO PLAINTIFF KELLY

      130.   Plaintiff Susan Kelly has lived and worked in Augusta for 48

years. Since 2004, Susan has lived 1.6 miles from the KPR facility. Between

1982 and 2004, Susan lived half a mile from the KPR facility. Between 1989

and 2003, Susan worked in or around the KPR facility.




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       131.   Susan consistently and without any knowledge that she was

doing so, inhaled contaminated air in and around her home, her work, and in

the areas surrounding the facility.

       132.   As a result, Susan required a lump be removed from her right

breast in 1997; was diagnosed with colon cancer in 2016 and a uterine tumor

in 2020; and had two miscarriages.

       133.   At the time of her diagnoses, Susan did not have notice that her

medical conditions were wrongfully caused or that they were caused by the

Defendant’s emissions of ethylene oxide.


                  FACTS SPECIFIC TO PLAINTIFF EVANS

      134.    Plaintiff Ethel Evans has lived and worked in Augusta, Georgia

since 1991. Since 2007, Ethel has lived 2.3 miles from the KPR facility.

Between 2002 and 2007, Ethel lived 4.8 miles from the KPR facility. Between

1991 and 1996, Ethel lived 3.5 miles from the KPR facility. Between 2003

and 2006, she worked 1.9 miles from the KPR facility.

      135.    Ethel consistently and without any knowledge that she was doing

so, inhaled contaminated air in and around her home and in the areas

surrounding the facility.

      136.    As a result, Ethel was diagnosed with breast cancer in 2009.


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          137.        At the time of her diagnosis, Ethel did not have notice that her

medical condition was wrongfully caused or that it was caused by the

Defendant’s emissions of ethylene oxide.


                                              COUNT I
                                     Negligence
                  (On Behalf of Plaintiffs and Against Defendant)

          138.    Plaintiffs incorporate the foregoing allegations as if fully set forth

herein.

          139.   At      all   times   relevant,   Defendant   owed   a   duty   to   exercise

reasonable care in the operation of its facility, including the emission of EtO.

          140.   Notwithstanding its duty, Defendant breached its duty in one or

more of the following ways:

                 a.        Emitting dangerous volumes of EtO into the air from its
                           facility;

                 b.        Disregarding safe methods to adequately control EtO
                           emissions from its facility;

                 c.        Failing to control and report fugitive emissions of EtO;

                 d.        Failing to comply with Georgia’s limits on EtO
                           concentrations;


                 e.        Failing to warn or advise those who live or work in the
                           community that they were being exposed to EtO; and




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                  f.       Subjecting those who live and work nearby its facility to an
                           elevated cancer risk.

          141.    As a proximate result of one of the aforesaid negligent acts or

omissions, Plaintiffs suffered injuries of a personal and pecuniary nature.

                                            COUNTI1
                              Willful and Wanton Misconduct
                      (On Behalf of Plaintiffs and Against Defendant)

          142.    Plaintiffs incorporate the foregoing allegations as if fully set forth

herein.

          143.   At all times relevant, Defendant owed a duty to refrain from willful

and wanton misconduct and/or conduct which exhibited an indifference and/or

conscious disregard to the health, safety, and well-being of Plaintiffs and those

living and working in the area surrounding its facility.

      144.       Notwithstanding its duty, Defendant breached its duty in one or

more of the following ways:

                 a.       Emitting dangerous volumes of EtO into the air from its
                          facility;

                 b.       Disregarding safe methods to adequately control EtO
                          emissions from its facility;

                 c.       Failing to comply with Georgia’s limits on EtO
                          concentrations;

                 d.       Failing to control and report fugitive emissions of EtO;



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              e.    Failing to warn or advise those who live or work in the
                    community that they were being exposed to EtO; and

              f.    Subjecting those who live and work nearby its facility to an
                    elevated cancer risk.

       145.   Defendant acted in a way that shows a conscious disregard for the

known dangers its EtO posed to its neighbors. As explained in Paragraphs {9

17-32, KPR knew of the specific dangers associated with EtO exposure, knew

of the regulatory      regime   built up     around   it because   it was   so noxious,   but

nevertheless emitted thousands of pounds of it into the air around Plaintiffs

homes. And, of course, despite being in a position of superior knowledge with

regard to these facts, Defendant did not warn Plaintiffs of the risks that they

faced to contract the illnesses they were ultimately diagnosed with.

      146.    Making     matters    worse,    sterilization   methods   that   did   not use

cancer-causing EtO, including but not limited to, heat sterilization, nitrogen

dioxide sterilization, and ionizing radiation, were available to Defendant, but

it chose to use EtO sterilization instead.

      147.    As a proximate       result of Defendant’s willful and wanton          acts or

omissions, Plaintiffs suffered injuries of a personal and pecuniary nature.




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                                      COUNT III
                                  Private Nuisance
                  (On Behalf of Plaintiffs and Against Defendant)

          148.   Plaintiffs incorporate the foregoing allegations as if fully set forth

herein.

          149.   The right of enjoyment of private property is an absolute right of

every citizen.

          150.   Defendant knew EtO to be hazardous and harmful to humans.

          151.   Defendant knew or should have known that the levels of EtO gas

emitted from its facility would have a toxic, poisonous,            and deleterious effect

upon the health, safety,        and well-being of people living and working in the

community.

      152.       Defendant knew or should have known that the levels of EtO gas

emitted from its facility would have a toxic, poisonous, and deleterious effect

upon the health, safety, and well-being of persons breathing it.

      153.       Defendant’s    operation,   maintenance,    and    use   of its sterilizing

facility caused those who live and work in the area surrounding its facility to

breathe     air containing     high levels of EtO    on a routine    and constant basis,

causing a substantially elevated risk of cancer.

      154.       Defendant's    emissions     of   carcinogenic     EtO    interfere   with

Plaintiffs’ enjoyment of property and cause hurt, inconvenience, or damage to
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Plaintiffs, including their ability to breathe air free of a carcinogenic toxin in

the air on their property.

          155.   As a proximate result of Defendant’s operation, maintenance, and

use   of its sterilizing      facility,    Plaintiffs’    right   to breathe       clean    air without

dangerous levels of carcinogens, such as EtO, was eliminated and/or severely

diminished.

          156.   As a proximate result of Defendant’s operation, maintenance, and

use of its sterilizing facility, EtO continuously invaded and contaminated the

areas surrounding KPR’s facility, including Plaintiffs’ residence.

          157.   As   a proximate     result of Defendant's            use   and   emission        of EtO,

Plaintiffs were exposed to and inhaled significant amounts of EtO.

          158.   As a proximate       result of Defendant’s            use and emission of EtO,

Plaintiffs sustained and will continue to sustain severe and permanent damage

to their health due to the emission of EtO.

          159.   As   a   proximate       result   of    Plaintiffs’   inhalation      of    EtO     from

Defendant's       facility, Plaintiffs suffered injuries of a personal and pecuniary

nature.




                                                   36
        Case 1:23-mi-99999-UNA
        Case
        Case  1:21-cv-00112-JRH-BKE
             1:21-cv-00112-JRH-BKE   Document
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                                                                               44




                                                 COUNT       IV
                        Ultrahazardous Activity/Strict Liability
                    (On Behalf of Plaintiffs and Against Defendant)

          160.    Plaintiffs incorporate the foregoing allegations as if fully set forth

herein.

          161.    Defendant’s use and emission of EtO from its medical sterilization

facility constitutes an ultrahazardous activity.

          162.    Defendant's use and emission of EtO created a high degree of risk

to those who live and work in the surrounding area. Even exercising reasonable

care,    this risk cannot          be eliminated.      Due    to its chemical       makeup,    EtO    will

always      be carcinogenic         and dangerous,          no matter what        quantity is emitted.

Unless      EtO’s       chemical    makeup        is modified,      and    thus   it is turned   into     a

different compound, EtO will always be inherently dangerous.

          163.    Medical device sterilization is not an activity carried out by many

people in the population.

         164.     Defendant’s       use and emission of EtO               is especially inappropriate

given     the    densely     populated        residential    and    commercial     area    in which     its

facility is located, just around the corner from Plaintiffs’ homes.

         165.     The      activities,   as     conducted      by    Defendant,      are   exceedingly

dangerous and offer little to no value to the surrounding community.



                                                      37
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                                                                           44




          166.    Because     Defendant's   activities     are   ultrahazardous,        it is strictly

liable for any injuries proximately resulting therefrom.

          167.    As a direct and proximate           result of Defendant’s       ultrahazardous

activities, Plaintiffs were exposed to and inhaled great amounts of EtO.

          168.    As   a    proximate   result   of    Plaintiffs’   inhalation    of     EtO    from

Defendant's facility, Plaintiffs suffered injuries of a personal and pecuniary

nature.

                                   PRAYER        FOR RELIEF

      WHEREFORE,                Plaintiffs request that the Court enter judgment in

their favor and against Defendant as follows:

             a. An award of damages, including nominal and compensatory

                  damages, as allowed by law and in an amount to be determined;

             b. An award of punitive damages as allowed by law and in an

                  amount to be determined;

             c.   An award of attorneys’ fees and costs and litigation expenses;

             d. An award of prejudgment interest on all amounts awarded;

             e. An Order for injunctive and declaratory relief; and

             f.   Such other and further relief as this Court may deem just and

                  proper.



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                                                              40 of   40
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                              JURY TRIAL

  Plaintiffs demand a trial by jury for all issues so triable.

                                         Respectfully submitted,

                                         LORETTA BROWMAN,
                                         EVELYN ARMSTRONG,
                                         TIEESE SMITH, DEWAYNE
                                         WILLIAMS, DEBORAH BAIN,
                                         VICTORIA SNOW, RONALD
                                         LAMPKIN, BARBARA BETTS,
                                         SHERRY HOLES, FELICIA
                                         LAMBERT, TERESSA TAYLOR,
                                         MICHAEL DUNN, ALOPECIA
                                         ARMSTRONG, PATRICIA
                                         BELL, BERNICE WILKINS,
                                         ANNIE WILLIAMS, CAROLYN
                                         WASHINGTON, SCHUYLER
                                         KNIGHT, CLARISSA
                                         COLEMAN, CHARLES JONES,
                                         MARK PUGH, SABRINA
                                         WATKINS, SUSAN DENICE
                                         KELLY, and ETHEL LENA
                                         EVANS,

                                         By:/s/Charles C. Bailey
                                                 One of Plaintiffs’ Attorneys

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                                    39
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                                      Michael Ovca
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                                      Chicago, IL 60654
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I.
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   (a) PLAINTIFFS
       PLAINTIFFS                                                                                                           DEFENDANTS
                                                                                                                          KENDALL     PATIENTRECOVERYU.S.,
          / RUHWWD%URZPDQ(YHO\Q$UPVWURQJ7LHHVH6PLWK'HZD\QH:LOOLDPV9LFWRULD6QRZ5RQDOG/DPSNLQ
          Loretta  Browman, Evelyn Armstrong, Tieese Smith, Dewayne Williams, Victoria Snow, Ronald Lampkin,
                                                                                                                          KPEEENAY        ER TRECOVERYU S., LLC,
                                                                                                                                                            LLC, a
                                                                                                                                                                 a Delaware
                                                                                                                                                                   Delaware limited
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          Barbara Betts, Sherry Holes, Felicia Lambert, Teressa Taylor, Michael Dunn, Alopecia Armstrong, Patricia        corporation
                                                                                                                          corporation
          %HOO%HUQLFH:LONLQV$QQLH:LOOLDPV&DURO\Q:DVKLQJWRQ6FKX\OHU.QLJKW&ODULVVD&ROHPDQ&KDUOHV
          Bell, Bernice Wilkins, Annie Williams, Carolyn Washington, Schuyler Knight, Clarissa Coleman, Charles
          -RQHV0DUN3XJK6DEULQD:DWNLQV6XVDQ'HQLFH.HOO\DQG(WKHO/HQD(YDQV
          Jones, Mark Pugh, Sabrina Watkins, Susan Denice Kelly, and Ethel Lena Evans
    (b)
    (b) County
        County of
               of Residence
                  Residence of
                            of First
                               First Listed Plaintiff ~~ Richmond
                                     Listed Plaintiff    Richmond Cty,
                                                                  Cty, GA
                                                                       GA                                                   County
                                                                                                                            County of
                                                                                                                                   of Residence
                                                                                                                                      Residence of
                                                                                                                                                of First
                                                                                                                                                   First Listed
                                                                                                                                                         Listed Defendant
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                                     (EXCEPT
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    (c)
     c Attorneys
         Attorneys (Firm  Name, Address,
                   (Firm Name,               Telephone Number)
                                         and Telephone
                                Address, and           Number)                                                               Attorneys
                                                                                                                             Attorneys (If Known)
                                                                                                                                           Known)
 83k &
 COOK     & CONNELLY,
             CONNELLY, LLC    LLC
 750 Piedmonte
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                    Ave. NE NE Atlanta,
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      678.539.0680 E-mail:
                         E-mail: charlie.bailey@cookconnelly.com
                                   charlie.bailey@cookconnelly.com

II.
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       Recovery of  of Defaulted
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u  195 Contract
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                   Product Liability
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       Franchise                                 Injury
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(3 220
u  220 Foreclosure
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                                                                                           Detainee                Income
                                                                                                                   Income Security
                                                                                                                              Security Act
                                                                                                                                        Act                or
                                                                                                                                                           or Defendant)
                                                                                                                                                              Defendant)                         Act
                                                                                                                                                                                                 Act
(3 230
u  230 Rent
       Rent Lease
             Lease &  & Ejectment
                          Ejectment       3 442
                                          u  442 Employment
                                                 Employment                 u 510
                                                                               510 Motions
                                                                                   Motions to  to Vacate
                                                                                                   Vacate                                          (3 871
                                                                                                                                                   u  871 IRS—Third
                                                                                                                                                          IRS—Third Party Party          (3 896
                                                                                                                                                                                         u  896 Arbitration
                                                                                                                                                                                                Arbitration
(3 240
u  240 Torts
       Torts to
              to Land
                  Land                    3 443
                                          u  443 Housing/
                                                 Housing/                          Sentence
                                                                                   Sentence                                                                26 USC
                                                                                                                                                           26 USC 76097609               O 899
                                                                                                                                                                                         u  899 Administrative
                                                                                                                                                                                                Administrative Procedure
                                                                                                                                                                                                                     Procedure
(3 245
u  245 Tort
       Tort Product
             Product Liability
                        Liability                Accommodations
                                                 Accommodations                530 General
                                                                            u 530  General                                                                                                      Act/Review or
                                                                                                                                                                                                Act/Review      or Appeal
                                                                                                                                                                                                                    Appeal ofof
(3 290
u  290 All
       All Other
           Other Real
                    Real Property
                           Property       0 445
                                          u  445 Amer.
                                                 Amer. w/Disabilities
                                                          w/Disabilities -- u 535
                                                                               535 Death
                                                                                   Death Penalty
                                                                                            Penalty                 IMMIGRATION                                                                 Agency
                                                                                                                                                                                                Agency Decision
                                                                                                                                                                                                           Decision
                                                 Employment
                                                 Employment                    Other:
                                                                               Other:                       3 462
                                                                                                            u  462 Naturalization
                                                                                                                   Naturalization Application
                                                                                                                                      Application                                        (3 950
                                                                                                                                                                                         u  950 Constitutionality
                                                                                                                                                                                                Constitutionality of   of
                                          0 446
                                          u  446 Amer.
                                                 Amer. w/Disabilities
                                                          w/Disabilities -- u 540
                                                                               540 Mandamus
                                                                                   Mandamus &      & Other
                                                                                                      Other 3 465
                                                                                                            u  465 Other
                                                                                                                   Other Immigration
                                                                                                                            Immigration                                                          State
                                                                                                                                                                                                 State Statutes
                                                                                                                                                                                                        Statutes
                                                 Other
                                                 Other                      u  550 Civil Rights
                                                                               550 Civil  Rights                   Actions
                                                                                                                   Actions
                                          (3 448
                                          u  448 Education
                                                 Education                  u 555
                                                                               555 Prison
                                                                                   Prison Condition
                                                                                            Condition
                                                                            u 560
                                                                               560 Civil
                                                                                   Civil Detainee
                                                                                          Detainee --
                                                                                   Conditions
                                                                                   Conditions of   of
                                                                                   Confinement
                                                                                   Confinement

V.
V. ORIGIN
   ORIGIN (Place
          (Place an
                 an “X”
                    “Xinin One Box Only)
                           One Box Only)
X1  Original
u 1 Original                 0 2
                             u 2 Removed
                                 Removed from
                                            from                 0 3
                                                                 u 3       Remanded from
                                                                           Remanded   from               u 44 Reinstated
                                                                                                              Reinstated or
                                                                                                                         or            0 55 Transferred
                                                                                                                                       u                 3 6
                                                                                                                                            Transferred from
                                                                                                                                                         from
                                                                                                                                                         u   6 Multidistrict
                                                                                                                                                                  Multidistrict                         3 88 Multidistrict
                                                                                                                                                                                                        u     Multidistrict
    Proceeding
    Proceeding                   State Court
                                 State Court                               Appellate Court
                                                                           Appellate Court                    Reopened
                                                                                                              Reopened                      Another
                                                                                                                                            Another District
                                                                                                                                                     District     Litigation--
                                                                                                                                                                  Litigation                                  Litigation
                                                                                                                                                                                                              Litigation --
                                                                                                                              (specify)
                                                                                                                              (specify)                           Transfer
                                                                                                                                                                  Transfer                                   Direct
                                                                                                                                                                                                             Direct File
                                                                                                                                                                                                                     File
                                               Cite
                                               Cite the U.S. Civil
                                                    the U.S. Civil Statute
                                                                   Statute under
                                                                           under which
                                                                                 which you are filing
                                                                                       you are filing (Do
                                                                                                      (Do not
                                                                                                          not cite
                                                                                                              cite jurisdictional   statutes unless
                                                                                                                   jurisdictional statutes          diversity): :
                                                                                                                                             unless diversity)
                     28 U.S.C.
                     28  U.S.C. § § 1332,
                                     1332, Medical
                                              Medical Monitoring
                                                      Monitoring
VI. CAUSE
VI. CAUSE OF
          OF ACTION
             ACTION Brief
                    Brief description
                          description  of cause:
                                       of cause:
                     Medical Monitoring
                     Medical       Monitoring
VII. REQUESTED
VII. REQUESTED IN
               IN                              u  CHECK IF
                                               (0 CHECK    THIS IS
                                                        IF THIS              ACTION
                                                                      CLASS ACTION
                                                                    A CLASS
                                                                 IS A                                                 DEMAND $$
                                                                                                                      DEMAND                                       CHECK YES only
                                                                                                                                                                   CHECK YES         demanded in
                                                                                                                                                                                  if demanded
                                                                                                                                                                             only if               complaint:
                                                                                                                                                                                                in complaint:
      COMPLAINT:
      COMPLAINT:                                  UNDER RULE 23,
                                                  UNDER RULE       F.R.Cv.P.
                                                               23, F.R.Cv.P.                                                                                       JURY DEMAND:
                                                                                                                                                                   JURY DEMAND:             Yes
                                                                                                                                                                                        XHu Yes      [No
                                                                                                                                                                                                     u  No
VIII.
VIII. RELATED
       RELATED CASE(S)
               CASE(S)
                                                  (See
                                                  (See instructions):
                                                       instructions):
      IF
      IF ANY
         ANY                                                                JUDGE
                                                                            JUDGE                                                                            DOCKET NUMBER
                                                                                                                                                             DOCKET NUMBER
DATE
DATE                                                                            SIGNATURE
                                                                                SIGNATURE OF
                                                                                          OF ATTORNEY
                                                                                             ATTORNEY OF
                                                                                                      OF RECORD
                                                                                                         RECORD


FOR
FOR OFFICE
    OFFICE USE
           USE ONLY
               ONLY

   RECEIPT
   RECEIPT #
           #                         AMOUNT
                                     AMOUNT                                          APPLYING
                                                                                     APPLYING IFP
                                                                                              IFP                                             JUDGE
                                                                                                                                              JUDGE                            MAG.
                                                                                                                                                                               MAG. JUDGE
15 44 Reverse (Rev, 03/15) Case
JS 44 Reverse (Rev. 08/18)  CaS€ 1:23-mi-99999-UNA
                           Case   1:21-cv-00112-JRH-BKE
                                  1:21-cv-00112-JRH-BKE  Document
                                                     Document
                                                         Document  1-1 Filed
                                                              1116-6
                                                                   1-1   Filed04/11/23
                                                                         Filed 07/19/21 Page
                                                                               07/19/21  Page432
                                                                                         Page  2 of
                                                                                                 of 44
                                                                                                 of 2
                                                                                                    2

                       INSTRUCTIONS
                       INSTRUCTIONS FOR
                                    FOR ATTORNEYS
                                        ATTORNEYS COMPLETING
                                                  COMPLETING CIVIL
                                                             CIVIL COVER
                                                                   COVER SHEET
                                                                         SHEET FORM
                                                                               FORM JS
                                                                                    JS 44
                                                                                       44
                                                                                  Authority For
                                                                                  Authority For Civil
                                                                                                Civil Cover
                                                                                                      Cover Sheet
                                                                                                            Sheet

The
The JS
     JS 44
         44 civil
             civil cover
                    cover sheet
                           sheet and
                                  and the
                                        the information
                                            information contained
                                                            contained herein
                                                                         herein neither
                                                                                 neither replaces
                                                                                          replaces nor
                                                                                                     nor supplements
                                                                                                          supplements thethe filings
                                                                                                                             filings and
                                                                                                                                      and service
                                                                                                                                           service of
                                                                                                                                                   of pleading
                                                                                                                                                       pleading or
                                                                                                                                                                 or other
                                                                                                                                                                    other papers
                                                                                                                                                                           papers as
                                                                                                                                                                                   as
required
required byby law,
               law, except
                      except as  provided by
                              as provided    by local
                                                 local rules
                                                        rules of
                                                               of court.
                                                                   court. This
                                                                           This form,
                                                                                 form, approved
                                                                                        approved by by the
                                                                                                        the Judicial
                                                                                                             Judicial Conference
                                                                                                                       Conference of of the
                                                                                                                                        the United
                                                                                                                                             United States
                                                                                                                                                     States in
                                                                                                                                                             in September
                                                                                                                                                                September 1974,
                                                                                                                                                                             1974, is
                                                                                                                                                                                    is
required
required for
           for the
                the use
                    use of
                         of the
                            the Clerk
                                 Clerk ofof Court
                                            Court for
                                                    for the
                                                        the purpose
                                                             purpose of of initiating
                                                                           initiating the
                                                                                      the civil
                                                                                           civil docket
                                                                                                 docket sheet.
                                                                                                          sheet. Consequently,
                                                                                                                   Consequently, aa civil
                                                                                                                                      civil cover
                                                                                                                                            cover sheet
                                                                                                                                                   sheet is
                                                                                                                                                          is submitted
                                                                                                                                                             submitted to
                                                                                                                                                                        to the
                                                                                                                                                                           the Clerk
                                                                                                                                                                                Clerk of
                                                                                                                                                                                       of
Court
Court for
       for each
            each civil
                   civil complaint
                         complaint filed.
                                      filed. The
                                              The attorney
                                                    attorney filing
                                                               filing aa case
                                                                         case should
                                                                               should complete
                                                                                       complete thethe form
                                                                                                        form asas follows:
                                                                                                                  follows:

I.(a)
L.(a)    Plaintiffs-Defendants.
         Plaintiffs-Defendants. Enter      Enter names
                                                  names (last,
                                                            (last, first,
                                                                     first, middle
                                                                              middle initial)
                                                                                       initial) of   plaintiff and
                                                                                                 of plaintiff  and defendant.
                                                                                                                      defendant. If   If the
                                                                                                                                          the plaintiff
                                                                                                                                               plaintiff or
                                                                                                                                                          or defendant
                                                                                                                                                             defendant is  is aa government
                                                                                                                                                                                 government agency,
                                                                                                                                                                                                  agency, use
                                                                                                                                                                                                            use
         only
         only the
                the full
                    full name
                          name or  or standard
                                       standard abbreviations.
                                                   abbreviations. If      If the
                                                                              the plaintiff
                                                                                  plaintiff oror defendant
                                                                                                 defendant is is an
                                                                                                                  an official
                                                                                                                       official within
                                                                                                                                  within aa government
                                                                                                                                              government agency,
                                                                                                                                                             agency, identify
                                                                                                                                                                        identify first
                                                                                                                                                                                     first the
                                                                                                                                                                                           the agency
                                                                                                                                                                                                agency and
                                                                                                                                                                                                         and
         then
         then the
               the official,
                    official, giving
                                giving bothboth name
                                                 name andand title.
                                                               title.
  (b)
  (b)    County of
         County     of Residence.
                        Residence. For    For each
                                               each civil
                                                      civil case
                                                             case filed,
                                                                      filed, except
                                                                               except U.S.
                                                                                       U.S. plaintiff
                                                                                              plaintiff cases,
                                                                                                         cases, enter
                                                                                                                  enter thethe name
                                                                                                                                name of of the
                                                                                                                                            the county
                                                                                                                                                 county where
                                                                                                                                                          where the
                                                                                                                                                                  the first
                                                                                                                                                                       first listed
                                                                                                                                                                               listed plaintiff
                                                                                                                                                                                       plaintiff resides
                                                                                                                                                                                                  resides at
                                                                                                                                                                                                           at the
                                                                                                                                                                                                               the
         time of
         time   of filing.
                   filing. InIn U.S.
                                 U.S. plaintiff
                                         plaintiff cases,
                                                    cases, enter
                                                             enter the the name
                                                                            name of of the
                                                                                       the county
                                                                                            county in in which
                                                                                                         which thethe first
                                                                                                                        first listed
                                                                                                                               listed defendant
                                                                                                                                       defendant resides
                                                                                                                                                     resides at
                                                                                                                                                              at the
                                                                                                                                                                 the time
                                                                                                                                                                     time of  of filing.
                                                                                                                                                                                  filing. (NOTE:
                                                                                                                                                                                            (NOTE: In In land
                                                                                                                                                                                                          land
         condemnation cases,
         condemnation       cases, thethe county
                                            county ofof residence
                                                         residence of    of the
                                                                             the "defendant"
                                                                                  "defendant" is  is the
                                                                                                     the location
                                                                                                          location of of the
                                                                                                                          the tract
                                                                                                                               tract of
                                                                                                                                      of land
                                                                                                                                          land involved.)
                                                                                                                                                 involved.)
  (c)
  (c¢)   Attorneys.
         Attorneys. EnterEnter thethe firm
                                        firm name,
                                              name, address,
                                                       address, telephone
                                                                    telephone number,
                                                                                   number, and and attorney
                                                                                                     attorney ofof record.
                                                                                                                    record. If  If there
                                                                                                                                   there are
                                                                                                                                           are several
                                                                                                                                                several attorneys,
                                                                                                                                                         attorneys, list
                                                                                                                                                                      list them
                                                                                                                                                                            them on  on an
                                                                                                                                                                                         an attachment,
                                                                                                                                                                                             attachment, noting
                                                                                                                                                                                                            noting
         in this
         in this section
                  section "(see
                            "(see attachment)".
                                     attachment)".

II.
11.      Jurisdiction.
         Jurisdiction. The    The basis
                                    basis of    jurisdiction is
                                            of jurisdiction      is set
                                                                    set forth
                                                                         forth under
                                                                                 under Rule
                                                                                         Rule 8(a),
                                                                                                8(a), F.R.Cv.P.,
                                                                                                        F.R.Cv.P., which
                                                                                                                       which requires
                                                                                                                               requires that      jurisdictions be
                                                                                                                                           that jurisdictions       be shown
                                                                                                                                                                        shown inin pleadings.
                                                                                                                                                                                   pleadings. Place
                                                                                                                                                                                                 Place an
                                                                                                                                                                                                        an "X"
                                                                                                                                                                                                            "X"
         in
         in one
            one ofof the
                      the boxes.
                            boxes. If If there
                                         there is  is more
                                                      more than
                                                             than one
                                                                    one basis
                                                                          basis of    jurisdiction, precedence
                                                                                  of jurisdiction,    precedence is    is given
                                                                                                                          given inin the
                                                                                                                                     the order
                                                                                                                                          order shown
                                                                                                                                                   shown below.
                                                                                                                                                             below.
         United
         United States
                   States plaintiff.
                             plaintiff. (1)(1) Jurisdiction
                                                 Jurisdiction based
                                                                 based on on 2828 U.S.C.
                                                                                   U.S.C. 1345
                                                                                             1345 and
                                                                                                    and 1348.
                                                                                                           1348. Suits
                                                                                                                    Suits by
                                                                                                                           by agencies
                                                                                                                               agencies andand officers
                                                                                                                                                  officers ofof the    United States
                                                                                                                                                                 the United    States are
                                                                                                                                                                                       are included
                                                                                                                                                                                            included here.
                                                                                                                                                                                                      here.
         United
         United States
                   States defendant.
                             defendant. (2)   (2) When
                                                    When thethe plaintiff
                                                                 plaintiff isis suing
                                                                                 suing the
                                                                                        the United
                                                                                             United States,
                                                                                                        States, its
                                                                                                                 its officers
                                                                                                                      officers or
                                                                                                                                or agencies,      place an
                                                                                                                                    agencies, place       an "X"
                                                                                                                                                              "X" in in this
                                                                                                                                                                        this box.
                                                                                                                                                                             box.
         Federal
         Federal question.
                    question. (3)  (3) This
                                        This refers
                                                refers to
                                                        to suits   under 28
                                                            suits under     28 U.S.C.
                                                                                 U.S.C. 1331,
                                                                                           1331, where      jurisdiction arises
                                                                                                   where jurisdiction               under the
                                                                                                                            arises under     the Constitution
                                                                                                                                                   Constitution of   of the
                                                                                                                                                                        the United
                                                                                                                                                                             United States,
                                                                                                                                                                                     States, an
                                                                                                                                                                                              an amendment
                                                                                                                                                                                                  amendment
         to
         to the
            the Constitution,
                 Constitution, an    an act
                                         act ofof Congress
                                                    Congress or or aa treaty
                                                                       treaty ofof the
                                                                                   the United
                                                                                        United States.
                                                                                                  States. In In cases
                                                                                                                cases where
                                                                                                                         where the
                                                                                                                                 the U.S.
                                                                                                                                      U.S. isis aa party,
                                                                                                                                                   party, the
                                                                                                                                                            the U.S.    plaintiff or
                                                                                                                                                                 U.S. plaintiff   or defendant
                                                                                                                                                                                     defendant code
                                                                                                                                                                                                  code takes
                                                                                                                                                                                                         takes
         precedence, and
         precedence,      and boxbox 11 or
                                         or 22 should
                                                 should bebe marked.
                                                               marked.
         Diversity
         Diversity of  of citizenship.
                           citizenship. (4)  (4) This
                                                   This refers
                                                         refers toto suits
                                                                      suits under
                                                                             under 28 28 U.S.C.
                                                                                          U.S.C. 1332,
                                                                                                    1332, where       parties are
                                                                                                            where parties      are citizens
                                                                                                                                    citizens ofof different
                                                                                                                                                    different states.
                                                                                                                                                                states. When
                                                                                                                                                                           When Box
                                                                                                                                                                                  Box 4 4 is
                                                                                                                                                                                          is checked,
                                                                                                                                                                                             checked, the
                                                                                                                                                                                                        the
         citizenship
         citizenship of  of the
                             the different
                                  different parties
                                                parties must
                                                          must be be checked.
                                                                      checked. (See (See Section
                                                                                           Section III
                                                                                                     III below;
                                                                                                          below; NOTE:
                                                                                                                    NOTE: federal
                                                                                                                               federal question
                                                                                                                                         question actions
                                                                                                                                                        actions take
                                                                                                                                                                   take precedence
                                                                                                                                                                          precedence overover diversity
                                                                                                                                                                                               diversity
         cases.)
         cases.)

III.
III.     Residence
         Residence (citizenship)
                     (citizenship) of
                                    of Principal
                                       Principal Parties.
                                                 Parties. This
                                                          This section
                                                               section of
                                                                       of the
                                                                          the JS
                                                                              JS 44
                                                                                 44 is
                                                                                    is to be completed
                                                                                       to be completed if
                                                                                                       if diversity
                                                                                                          diversity of
                                                                                                                    of citizenship
                                                                                                                       citizenship was
                                                                                                                                   was indicated
                                                                                                                                       indicated above.
                                                                                                                                                 above. Mark
                                                                                                                                                        Mark this
                                                                                                                                                             this
         section
         section for
                 for each  principal party.
                     each principal  party.

IV.
IV.      Nature
         Nature of of Suit.
                      Suit. Place
                             Place an
                                   an "X"
                                       "X" in
                                           in the
                                              the appropriate
                                                   appropriate box.
                                                                box. If
                                                                      If there
                                                                         there are
                                                                               are multiple
                                                                                   multiple nature
                                                                                            nature of
                                                                                                   of suit
                                                                                                      suit codes
                                                                                                           codes associated
                                                                                                                 associated with
                                                                                                                            with the
                                                                                                                                 the case, pick the
                                                                                                                                     case, pick the nature
                                                                                                                                                    nature of
                                                                                                                                                           of suit
                                                                                                                                                              suit code
                                                                                                                                                                   code
         that
         that is
              is most
                 most applicable.
                        applicable. Click
                                     Click here
                                           here for:  Nature of
                                                 for: Nature  of Suit
                                                                 Suit Code
                                                                      Code Descriptions.
                                                                             Descriptions.

V.
Vv.      Origin.
         Origin. Place
                    Place an an "X"
                                 "X" inin one
                                           one ofof the
                                                     the seven
                                                           seven boxes.
                                                                    boxes.
         Original
         Original Proceedings.
                    Proceedings. (1)    (1) Cases
                                             Cases which
                                                       which originate
                                                                 originate in in the
                                                                                  the United
                                                                                       United States
                                                                                                States district
                                                                                                         district courts.
                                                                                                                    courts.
         Removed
         Removed from from State
                              State Court.
                                     Court. (2) (2) Proceedings
                                                      Proceedings initiated
                                                                        initiated in in state
                                                                                         state courts
                                                                                               courts may
                                                                                                        may bebe removed
                                                                                                                   removed to   to the
                                                                                                                                    the district
                                                                                                                                          district courts
                                                                                                                                                     courts under
                                                                                                                                                              under Title
                                                                                                                                                                       Title 2828 U.S.C.,
                                                                                                                                                                                    U.S.C., Section
                                                                                                                                                                                               Section 1441.
                                                                                                                                                                                                          1441.
         When
         When the     petition for
                 the petition     for removal
                                      removal is   is granted,
                                                       granted, check
                                                                    check this
                                                                             this box.
                                                                                   box.
         Remanded
         Remanded from from Appellate
                               Appellate Court.
                                              Court. (3) (3) Check
                                                               Check this
                                                                        this box
                                                                               box for
                                                                                     for cases
                                                                                          cases remanded
                                                                                                 remanded to   to the
                                                                                                                   the district
                                                                                                                        district court
                                                                                                                                   court forfor further
                                                                                                                                                  further action.     Use the
                                                                                                                                                            action. Use      the date
                                                                                                                                                                                   date ofof remand
                                                                                                                                                                                             remand as  as the
                                                                                                                                                                                                            the filing
                                                                                                                                                                                                                 filing
         date.
         date.
         Reinstated
         Reinstated or or Reopened.
                           Reopened. (4)    (4) Check
                                                 Check this this box
                                                                  box for
                                                                        for cases
                                                                             cases reinstated
                                                                                      reinstated or
                                                                                                  or reopened
                                                                                                      reopened in   in the
                                                                                                                       the district
                                                                                                                             district court.
                                                                                                                                        court. Use Use the
                                                                                                                                                         the reopening
                                                                                                                                                              reopening date date as as the
                                                                                                                                                                                        the filing
                                                                                                                                                                                             filing date.
                                                                                                                                                                                                     date.
         Transferred
         Transferred fromfrom Another
                                 Another District.
                                             District. (5) (5) For
                                                                 For cases
                                                                      cases transferred
                                                                               transferred under
                                                                                              under Title
                                                                                                      Title 28
                                                                                                             28 U.S.C.
                                                                                                                  U.S.C. Section
                                                                                                                             Section 1404(a).
                                                                                                                                         1404(a). Do   Do not    use this
                                                                                                                                                            not use   this for
                                                                                                                                                                            for within
                                                                                                                                                                                  within district
                                                                                                                                                                                            district transfers
                                                                                                                                                                                                      transfers or or
         multidistrict
         multidistrict litigation
                          litigation transfers.
                                       transfers.
         Multidistrict
         Multidistrict Litigation
                          Litigation —– Transfer.
                                           Transfer. (6)   (6) Check
                                                                 Check this
                                                                          this box
                                                                                box when
                                                                                       when aa multidistrict
                                                                                                multidistrict case
                                                                                                                 case is is transferred
                                                                                                                            transferred into  into the
                                                                                                                                                    the district
                                                                                                                                                         district under
                                                                                                                                                                   under authority
                                                                                                                                                                            authority of   of Title
                                                                                                                                                                                              Title 28
                                                                                                                                                                                                     28 U.S.C.
                                                                                                                                                                                                          U.S.C.
         Section
         Section 1407.
                   1407.
         Multidistrict
         Multidistrict Litigation
                          Litigation —– Direct
                                           Direct File.
                                                      File. (8)(8) Check
                                                                    Check this
                                                                             this box
                                                                                   box when
                                                                                          when aa multidistrict
                                                                                                   multidistrict casecase isis filed
                                                                                                                               filed inin the
                                                                                                                                           the same
                                                                                                                                                 same district
                                                                                                                                                         district as
                                                                                                                                                                   as the
                                                                                                                                                                       the Master
                                                                                                                                                                            Master MDL  MDL docket.
                                                                                                                                                                                                docket.
         PLEASE NOTE
         PLEASE       NOTE THAT  THAT THERE THERE IS      IS NOT
                                                              NOT AN   AN ORIGIN
                                                                             ORIGIN CODE   CODE 7.  7. Origin
                                                                                                         Origin Code
                                                                                                                   Code 77 waswas used
                                                                                                                                    used for for historical
                                                                                                                                                  historical records
                                                                                                                                                                records and
                                                                                                                                                                          and is is no
                                                                                                                                                                                     no longer
                                                                                                                                                                                         longer relevant
                                                                                                                                                                                                  relevant due due toto
         changes in
         changes    in statue.
                       statue.

VI.
VI.      Cause of
         Cause   of Action.
                    Action. Report
                              Report the
                                      the civil
                                          civil statute
                                                statute directly
                                                        directly related
                                                                  related to
                                                                           to the
                                                                              the cause
                                                                                  cause of
                                                                                         of action
                                                                                            action and
                                                                                                    and give
                                                                                                        give aa brief description of
                                                                                                                brief description of the
                                                                                                                                     the cause.
                                                                                                                                          cause. Do
                                                                                                                                                  Do not
                                                                                                                                                      not cite
                                                                                                                                                          cite jurisdictional
                                                                                                                                                               jurisdictional
         statutes
         statutes unless
                   unless diversity.
                           diversity. Example:
                                       Example: U.S.
                                                   U.S. Civil
                                                        Civil Statute:
                                                               Statute: 47
                                                                         47 USC
                                                                             USC 553
                                                                                   553 Brief
                                                                                        Brief Description:
                                                                                               Description: Unauthorized
                                                                                                             Unauthorized reception
                                                                                                                             reception of
                                                                                                                                        of cable
                                                                                                                                            cable service
                                                                                                                                                  service

VII.
VII.     Requested
         Requested inin Complaint.
                         Complaint. Class
                                        Class Action.
                                               Action. Place
                                                          Place an
                                                                 an "X"
                                                                     "X" in
                                                                          in this  box if
                                                                             this box   if you
                                                                                           you are
                                                                                                 are filing
                                                                                                      filing aa class
                                                                                                                class action
                                                                                                                      action under
                                                                                                                             under Rule
                                                                                                                                    Rule 23,
                                                                                                                                          23, F.R.Cv.P.
                                                                                                                                              F.R.Cv.P.
         Demand.
         Demand. InIn this
                       this space
                            space enter
                                   enter the
                                          the actual
                                              actual dollar
                                                      dollar amount
                                                              amount being
                                                                        being demanded
                                                                                demanded or  or indicate
                                                                                                 indicate other
                                                                                                            other demand,
                                                                                                                    demand, such
                                                                                                                             such as
                                                                                                                                  as aa preliminary
                                                                                                                                        preliminary injunction.
                                                                                                                                                     injunction.
         Jury Demand.
         Jury Demand. Check
                          Check the
                                 the appropriate
                                      appropriate box
                                                    box toto indicate
                                                             indicate whether
                                                                       whether or or not
                                                                                     not aa jury
                                                                                            jury isis being
                                                                                                      being demanded.
                                                                                                               demanded.

VIII.
VIII. Related
      Related Cases.
              Cases. This
                       This section
                            section of
                                    of the
                                       the JS
                                           JS 44
                                               44 is
                                                  is used
                                                     used to
                                                           to reference
                                                              reference related
                                                                        related pending
                                                                                pending cases,
                                                                                        cases, if
                                                                                               if any.
                                                                                                  any. If
                                                                                                       If there
                                                                                                          there are
                                                                                                                are related
                                                                                                                    related pending
                                                                                                                            pending cases,
                                                                                                                                    cases, insert
                                                                                                                                           insert the
                                                                                                                                                  the docket
                                                                                                                                                      docket
      numbers
      numbers and
              and the
                   the corresponding   judge names
                       corresponding judge    names for
                                                      for such
                                                          such cases.
                                                                cases.

Date and
Date and Attorney
         Attorney Signature.
                  Signature. Date
                             Date and
                                  and sign
                                      sign the
                                           the civil
                                               civil cover
                                                     cover sheet.
                                         Case 1:23-mi-99999-UNA
                                        Case
                                        Case   1:21-cv-00112-JRH-BKE
                                               1:21-cv-00112-JRH-BKE  Document
                                                                  Document
                                                                      Document  1-2 Filed
                                                                           1116-6
                                                                                1-2   Filed04/11/23
                                                                                      Filed 07/19/21 Page
                                                                                            07/19/21  Page441
                                                                                                      Page  1 of
                                                                                                              of 44
                                                                                                              of 11

JS44 (Rev. 08/18)                                                                             CIVIL COVER SHEET
                                                                                      suppl ement the filing and service of pleadings or other papers as r                                                                      uired by law, except as
The JS 44 civil cover sheet and the information contained herein neither replace nor
                                                                                   of the nited States in September 1974, is required for the use of the                                                                        lerk of Court for the
provided  by local rules of court.  This form, approved by the Judicial Conference
                                                                                      THIS FORM.)
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF
I. (a)           PLAINTIFFS
                                                                                                             Lampkin,
                                                                                                                                          KEE ENDANER TRECOVERYU.S., LLC, a Delaware limited liability
               Loretta Browman, Evelyn Armstrong, Ticese Smith, Dewayne Williams, Victoria Snow, Ronald                                   corporation
                                                                                                                Patricia
               Barbara Betts, Sherry Holes, Felicia Lambert, Teressa Taylor, Michael Dunn, Alopecia Armstrong,
                                                                                                               Charles
               Bell, Bemice Wilkins, Annie Williams, Carolyn Washington, Schuyler Knight, Clarissa Coleman,
               Jones, Mark Pugh, Sabrina Watkins, Susan Denice Kelly, and          [cna Evans
                                                                                          Richmond Cty, GA                                     County of Residence of First Listed Defendant
        (b) County of Residence of First Listed Plaintiff                                                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                          (EXCEPT IN U.S. PLAINTIFF CASES)
                                                                                                                                               NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                             THE TRACT OF LAND INVOLVED.

                                                                                                                                                Attorneys (if Known}
 c 8B,           Allomsys NE RAR (gress and Telephone Number)

 750 Piedmonte Ave. NE Atlanta, GA 30308
 Tel: 678.539.0680 E-mail: charlie.bailey@cookconnelly.com
                                                                                                                                                                                                            One Box for Plaintiff
                                                                                                                               CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in
11. BASIS OF JURISDICTION (piacean “X" in One Box Only)                                                               III.
                                                                                                                                                                                              and One Box for Defendant)
                                                                                                                                   (For Diversity Cases Only)
                                                                                                                                                              PT! DEF                                        PTF        DEF
0       1     U.S. Govemment                     0 3      Federal Question
                                                                                                                                      of This State            1  O   1 Incorporated  or Principal Place       04        O04
                  Plaintiff                                                    a Party)
                                                             (U.S. Government Not                                            Citizen
                                                                                                                                                                           of Business In This State

                                                                                                                             Citizen of Another State                            02        O      2    IncoporstedandPrincipal Place          0 5       25
0 2 U.S. Government                               ¥ 4 Diversity                                                                                                                                          of Business In Another State
                 Defendant                                   (Indicate Citizenship of Parties in Item Ill)
                                                                                                                                                                                 03        O      3    Foreign Nation                          06       O06
                                                                                                                             Citizen or Subject of a
                                                                                                                                     Foreign Count
                                                                                                                                                                                            Click here for: Nature of Suit Code Descriptions.
                                OF SUIT                                                                                                                                                                     p      Fe]                     RISTATUTES
                                   Tei] 2
                                                                                              z                              =                                                             SERA
                               ET                                                                                                         RF     E       \   /K   E    A   TY:    =i



                                             PERSONAL INJURY                                  PERSONAL INJURY                0 625 Drug Related Scizure                                        ppeal 28 USC 158
                                                                                                                                   of Property 21 USC 881                         | O 423 Withdrawal                        J 376 Qui Tam (31 USC
 O          120 Marine                    0 310 Airplane                                   O 365 Personal Injury -
                                                                                                  Product Liability          0 690 Other                                                  28 USC 157                               3729(a))
 O          130 Miller Act                O 315 Airplane Product                                                                                                                                                            J 400 State Reapportionment
 O          140 Negotiable Instrument            Liability                                 0 367 Health Care/
                                                                                                 Pharmaceutical                                                                            PROPERTY:R                       0 410 Antitrust
 3          150 Recovery of Overpayment | 0 320 Assault, Libel &                                                                                                                       O 820 Copyrights                     0) 430 Banks and Benking
                & Enforcement of Judgment        Slander                                         Personal Injury
                                                                                                 Product Liability                                                                     0) 830 Patent                        0 450 Commerce
 0          151 Medicare Act              0 330 Federal Employers’                                                                                                                                                          0 460 Deportation
                                                 Liability                                 3 368 Asbestos Personal                                                                     (J 835 Patent - Abbreviated
 DO         152 Recovery of Defaulted                                                                                                                                                         New Drug Application        | 470 Racketeer Influcnced and
                Student Loans             0 340 Marine                                            Injury Product
                                                                                                                                                                                                                                   Corrupt Organizations
                (Excludes Veterans)       0) 345 Marine Product                                   Liability
                                                                                             PERSONAL PROPERTY               [                                    REVERT                                                 2: 0 480 Consumer Credit
    0       153 Recovery of Overpayment          Liability
                of Veteran's Benefits     © 350 Motor Vehicle                              0 370 Other Fraud                  TO 710 Fair Labor Standards                              O 861 HIA (1395)                     J 48S Telephone Consumer

    0       160 Stockholders’ Suits       © 355 Motor Vehicle                              O 371 Truth in Lending                              Act                                     0 862 Black Lung (923)                       Protection Act

    © 190 Other Contract                     Product Liability                             () 380 Other Personal              0 720 Labor/Management                                   O 863 DIWC/DIWW (405(g))            3 490 Cable/Sat TV
    O 195 Contract Product Liability | 2 360 Other Personal                                       Property Damage                    Relations                                         O 864 SSID Title XVI                0 850 Securities/Commodities/
    0 196 Franchise                                      Injury                            0 385 Property Damage              O 740 Railway Labor Act                                  O 865 RSI (405())                            Exchange
                                                                                                  Product Liability           0 751 Family and Medical                                                                      (J 890 Other Statutory Actions
                                                                                                                                    Leave Act                                                                               C7 891 Agricultural Acts
                                                                                                                              O 790 Other Labor Litigation                             Fi IREDERAJATAXSUITSL              =| O 893 Environmental Matters
    - 7% REAT;            PROPERTY:              2 ZIGIV.             H               =      DRISONER:PETITIONSEH]
                                                                                             Habeas Corpus:                   0 791 Employee Retirement                                ©) 870 Taxes (U.S. Plaintiff         O 895 Freedom of Information
    0       210 Land Condemnation                0   440 Other Civil Rights
                                                                                                                                    Income Security Act                                        or Defendant)                       Act
    0       220 Foreclosure                      0   441 Voting                            0 463 Alien Detainee
                                                                                                                                                                                       O 871 IRS—Third Party                O 896 Arbitration
    0       230 Rent Lease & Ejectment           0   442 Employment                        £3 510 Motions to Vacate
                                                                                                  Sentence                                                                                     26 USC 7609                  J 899 Administrative Procedure
    O       240 Torts to Land                    O   443 Housing/                                                                                                                                                                 Act/Review or Appeal of
    0 245 Tort Product Liability                       Accommodations           © 530 General
                                                                                                                                     ;                                wl                                                          Agency Decision
    0 290 All Other Real Property                © 445 Amer. w/Disabilities - | 3 535 Death Penalty
                                                                                                                                 0        462 Naturalization Application                                                    0 950 Constitutionality of
                                                       Employment                 Other:
                                                                                                                             | 0 465 Other Immigration                                                                              State Statutes
                                                 (3 446 Amer. w/Disabilities - | 0 540 Mandamus & Other
                                                        Other                              0 550 Civil Rights                                  Actions
                                                  0 448 Education                          J 555 Prison Condition
                                                                                           DO 560 Civil Detainee -
                                                                                                  Conditions of
                                                                                                  Confinement

    V.        ORIGIN         (Place an “X" in One Box Only)
                                                                                           Remanded from              0 4 Reinstated or                       O 5 Transferred from                      0 6     Multidistrict           0 8 Multidistrict
    1           Original            0 2     Removed from                  0       3                                                                                                                                                          Litigation -
                                            State Court                                    Appellate Court                Reopened                                         Another District                     Litigation -
                Proceeding                                                                                                                                                                                      Transfer                    Direct File
                                                       Gee the US: Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                                              1332, Medical Monitorin
     VI. CAUSE OF ACTION                               Brief description of cause:
                                                        Medical Monitoring
                                                                                                                                         DEMAND §$                                                    CHECK YES only if demanded in complaint:
     VII. REQUESTED IN                                 0 CHECK IF THIS IS A CLASS ACTION
                                                             UNDER RULE 23, F.R.Cv.P.                                                                                                                 JURY DEMAND:                HM Yes        ONo
                 COMPLAINT:

     VIII. RELATED CASES)                                   (See instructions):             JUDGE
                  IF ANY                                                                                                                                                                   DOCKET NUMBER




            RECEIPT #
                                                                                                  APPLYING IFP                                                        JUDGE                                     MAG, JUDGE
